              8:05-cr-00094-LSC-FG3
District of Nebraska                  Doc # 137       Filed: 12/30/05    Page  1 of 2 - Page ID # 366
                                                                            https://ecf.ned.circ8.dcn/cgi-bin/framemenu.pl



                            Civil •   Criminal   •   Query •   Reports   •    Utilities   •   Logout




1 of 1                                                                                                01/23/2006 2:05 PM
              8:05-cr-00094-LSC-FG3
District of Nebraska - Display Receipt     Doc # 137      Filed:  12/30/05 Page 2 of 2 - Page ID # 367
                                                               https://ecf.ned.circ8.dcn/cgi-bin/DisplayReceipt.pl?2808441990120...




         MIME-Version:1.0
         From:ecf.notification@ned.uscourts.gov
         To:ecf.notice@ned.uscourts.gov
         Bcc:ecfnotice_nept@nept.uscourts.gov,ecfnotice_nep@nep.uscourts.gov,Ed_Marshall@ned.uscourts.gov
         Message-Id:<864887@ned.uscourts.gov>
         Subject:Activity in Case 8:05-mj-00169-TDT USA v. Ledezma-Hernandez "Order"

         Content-Type: text/html

         ***NOTE*** You may view the filed documents once without charge. To avoid later charges,
         download a copy of each document during this first viewing.

                                                       Version 2.5

                                            U.S. District Court of Nebraska

         Notice of Electronic Filing

         The following transaction was filed on 12/30/2005 and received by the system on 12/30/2005 at 1:44
         PM CST.
         Case Name:           USA v. Ledezma-Hernandez
         Case Number:         8:05-mj-169
         Filer:
         Document Number: 7

         Docket Text:
         ORDER as to defendant Diego A. Ledezma-Hernandez - at the Court's own request the preliminary
         examination and detention hearing scheduled before Magistrate Judge Thomas D. Thalken at 1:00 p.m.
         on 01/12/2006, will begin at 1:30 p.m. on 01/12/2006. Ordered by Magistrate Judge Thomas D. Thalken
         on 12/30/2005. THIS IS A TEXT ONLY ENTRY. A DOCUMENT IS NOT ATTACHED TO THIS
         ENTRY. (MBB)

         The following document(s) are associated with this transaction:


         8:05-mj-169-1 Notice will be electronically mailed to:

         Carlos A. Monzon     MonzonLaw@aol.com

         Nancy A. Svoboda Nancy.Svoboda@usdoj.gov, patricia.carman@usdoj.gov;
         carrie.russell@usdoj.gov; usane.ecfdtfoma@usdoj.gov

         8:05-mj-169-1 Notice will be delivered by other means to:




1 of 1                                                                                                         01/23/2006 2:05 PM
